     Case: 1:24-cv-05403 Document #: 38 Filed: 07/23/24 Page 1 of 2 PageID #:369

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Yan Meihua
                                                       Plaintiff,
v.                                                                  Case No.:
                                                                    1:24−cv−05403
                                                                    Honorable Sara L. Ellis
Individuals, Partnerships identified in Schedule A,
et al.
                                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 23, 2024:


         MINUTE entry before the Honorable Sara L. Ellis: Telephone conference held on
7/23/2024. Plaintiff's motion for an order supplemental to the Court's minute order
directing the Clerk to issue a single summons [25] is granted. Plaintiff&#0;39;s ex parte
motion to extend the temporary restraining order [26] is denied as moot. Plaintiff's motion
for entry of a preliminary injunction [27] is granted as to all defendants with the exception
of Defendants Ceinol−USA. Plaintiff&#0;39;s reply to Defendant Ceinol−USA
opposition to motion for entry a preliminary injunction [27] is due by 8/6/2024. Ruling
date set for 9/17/2024. Attorneys/Parties should appear for the hearing by calling the
Toll−Free Number: (866) 434−5269, Access Code: 8087837. Throughout the telephonic
hearing, each speaker will be expected to identify themselves for the record before
speaking. Please note that the conference call−in will be used by all cases that are on the
court's calendar for the said date, therefore counsel must be in a quiet area while on the
line and must have the telephone muted until your case is called. Members of the public
and media will be able to call in to listen to this hearing (use toll−free number). Persons
granted remote access to proceedings are reminded of the general prohibition against
photographing, recording, and rebroadcasting court proceedings. Violation of these
prohibitions may result in sanctions, including removal of court−issued media credentials,
restricted entry to future hearings, denial of entry to future hearings, or any other sanctions
deemed necessary by the Court.Defendants' responsive pleadings are due by 9/6/2024.
Telephone Conference set for 9/18/2024 is stricken and reset to 9/17/2024 at 9:30 AM
with joint status report due by 9/10/2024. The Court strikes the presentment date of
7/30/2024 [36] for Defendant's motion to vacate [35] and directs Defendant to re−notice
this motion for a date when the Court is sitting. Mailed notice(rj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
  Case: 1:24-cv-05403 Document #: 38 Filed: 07/23/24 Page 2 of 2 PageID #:370

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criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
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